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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   CHERISH ILER, individually and on                 Case No.: 24-CV-1767 TWR (KSC)
     behalf of all other aggrieved employees,
12
                                      Plaintiff,       ORDER APPROVING
13                                                     STIPULATION TO DISMISS
     v.                                                INDIVIDUAL CLAIMS WITH
14
                                                       PREJUDICE AND PAGA CLAIMS
     DRIFTWOOD HOSPITALITY
15                                                     WITHOUT PREJUDICE
     MANAGEMENT II, LLC,
16                                  Defendant.         (ECF Nos. 11, 12)
17
18         Presently before the Court is Plaintiff Cherish Iler and Defendant Driftwood
19   Hospitality Management II, LLC’s Stipulation to Dismiss Individual Claims with Prejudice
20   and PAGA Claims Without Prejudice (“Stip.,” ECF Nos. 11, 12), filed pursuant to Federal
21   Rule of Civil Procedure 41(a)(1)(A)(ii). Good cause appearing, the Court APPROVES
22   the Parties’ Stipulation. As stipulated by the Parties, the Court DISMISSES WITH
23   PREJUDICE the claims in the Complaint asserted in Plaintiff’s individual capacity and
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                                                                           24-CV-1767 TWR (KSC)
 1   DISMISSES WITHOUT PREJUDICE the claims asserted on behalf of other allegedly
 2   aggrieved persons under California’s Private Attorneys General Act of 2004.
 3         IT IS SO ORDERED.
 4   Dated: March 17, 2025
 5                                              _____________________________
                                                Honorable Todd W. Robinson
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                                                United States District Judge
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